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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
       VS.                                           §         CR. NO. 7:16-CR-876
                                                     §
ISMAEL LECHUGA                                       §

                        MOTION FOR NOTICE AND DISCLOSURE
                             OF RULE 404(B) MATERIAL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, ISMAEL LECHUGA Defendant in the above entitled and numbered

cause, by and through counsel, and respectfully moves this Honorable Court to Order the

Government to disclose all evidence it intends to produce at trial pursuant to Rule 404(b),

Federal Rules of Evidence, and to hold a pre-trial hearing regarding the admissibility of any such

evidence pursuant to Rule 104(a), Federal Rules of Evidence.

       It is requested that the Government provide notice of any evidence that it intends to use

pursuant to this rule so that prior to trial the Defendant may analyze and brief the issues. Should

this procedure be followed it will promote judicial economy in that it will minimize trial delay

and interruptions on those various issues.

                                              Respectfully Submitted,

                                              /S/CRISPIN (C.J.) QUINTANILLA, III
                                              CRISPIN (C.J.) QUINTANILLA, III
                                              State Bar No. 16436330
                                              Federal I.D. No. 12431

                                              GARCIA, QUINTANILLA & PALACIOS
                                              5526 North 10th Street
                                              McAllen, Texas 78504
                                              (956) 682-9477 Telephone
                                              (956) 682-0223 Facsimile
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                                 CERTIFICATE OF SERVICE

       I do hereby certify that a true and correct copy of the above and foregoing MOTION

FOR NOTICE AND DISCLOSURE OF RULE 404B MATERIAL has been forwarded to the

AUSA, Patricia Profit by via e-filing on this 15TH day of July, 2016.

                                              /S/CRISPIN (C.J.) QUINTANILLA, III
                                              CRISPIN (C.J.) QUINTANILLA, III



                             CERTIFICATE OF CONFERENCE

       This is to certify that I, CRISPIN (C.J.) QUINTANILLA, III, counsel for defendant,

has consulted with the Assistant United States Attorney, Patricia Profit assigned to this case in an

attempt to obtain the requested relief, with reference to defendant’s Motion for notice and

disclosure of Rule 404B material, and she was opposed.



                                              /S/CRISPIN (C.J.) QUINTANILLA, III
                                              CRISPIN (C.J.) QUINTANILLA, III
